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     1                       UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
     2                            ALEXANDRIA DIVISION

     3   ATHENA CONSTRUCTION GROUP,            )   Case 1:21-cv-396
         INC.,                                 )
     4                                         )
                             Plaintiff,        )
     5                                         )
                  v.                           )   Alexandria, Virginia
     6                                         )   August 25, 2021
         WILLIAM M. SMITH, III,                )   11:17 a.m.
     7   and                                   )
         RE CONSTRUCTION, LLC,                 )
     8                                         )
                             Defendants.       )
     9                                         )   Pages 1 - 26

    10
                TRANSCRIPT OF RE CONSTRUCTION'S MOTIONS FOR
    11
                               COSTS AND ATTORNEY'S FEES
    12
                    BEFORE THE HONORABLE ANTHONY J. TRENGA
    13
                        UNITED STATES DISTRICT COURT JUDGE
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    25       COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES


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     1                THE CLERK:      Civil Action 1:21-cv-396, Athena

     2   Construction Group, Inc. v. Smith, et al.

     3                Counsel, will you please note your

     4   appearances for the record.

     5                MR. DOWNEY:      Good morning, Your Honor.          Jeff

     6   Downey for the defendant.          I'd like to introduce Glen

     7   Ellis, who will be presenting the argument today.

     8                THE COURT:      All right.     Welcome.

     9                MR. ELLIS:      Good morning, Your Honor.

    10                MR. JOHNS:      Good morning, Your Honor.          Milton

    11   Johns for Athena Construction.

    12                THE COURT:      All right.     We're here on the

    13   defendant's motion for costs and attorney's fees.                 I

    14   have read the briefing.         I'd be pleased to hear further

    15   from counsel.

    16                MR. ELLIS:      Yes, Your Honor.       This motion is

    17   being brought solely by RE Construction, one of the

    18   defendants in the case that was brought against them by

    19   Athena.    The reason why RE Construction has asked us to

    20   file this case is because there was simply no basis for

    21   them to ever be included, and it would be unreasonable

    22   and completely unfair to have them pay half of the

    23   attorney's fees to defend what on its surface was

    24   clearly a frivolous and bad faith lawsuit.

    25                We've brought this motion under both the


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     1   Virginia good faith statute, which governs the

     2   requirements of an attorney signing a complaint --

     3   since this case was initially filed in state court --

     4   and also under the Virginia Uniform Trade Secrets Act,

     5   which allows the Court to issue attorney's fees for bad

     6   faith cases.

     7                The Virginia good faith statute is very

     8   similar to the Rule 11 statute that we have here in

     9   federal court.

    10                THE COURT:      It doesn't prescribe the

    11   procedure as Rule 11 does, though.

    12                MR. ELLIS:      No, it doesn't have the

    13   procedures and the safe harbor and everything that

    14   Rule 11 has.      But it sets forth what would be the

    15   basis, and it sets forth kind of -- they use a

    16   reasonableness standard and whether or not the

    17   complaint, prior to being signed by counsel, is well

    18   grounded in fact.

    19                THE COURT:      Right.

    20                MR. ELLIS:      And that's the issue.

    21                THE COURT:      I think it's an open issue,

    22   whether that statute applies, frankly.              I think it

    23   depends on whether it's viewed as a procedural statute

    24   or a substantive statute.          It think if it's procedural,

    25   it's simply displaced by Rule 11.            If it's substantive,


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     1   then perhaps it applies, whether someone can recover

     2   under it, if it does apply, under circumstances where

     3   Rule 11 might not apply.

     4                MR. ELLIS:      Well, I think Your Honor is

     5   right.     The Fourth Circuit hasn't spoken on it.

     6                THE COURT:      Right.

     7                MR. ELLIS:      There could be, like Your Honor

     8   was talking about, the issue with waiving Fifth

     9   Amendment rights.       It depends on how you would

    10   interpret.      There are courts that have -- and we cite

    11   to it in a footnote -- that have looked at it and

    12   interpreted it.

    13                THE COURT:      Right.

    14                MR. ELLIS:      Regardless, even under the

    15   Virginia standard, whether you look at it under Rule 11

    16   or whether you look at it under the bad faith standard,

    17   under the Virginia Uniform Trade Secrets Act, the fact

    18   here is that there was nothing -- there was no basis to

    19   include RE Construction.

    20                THE COURT:      The fees were awarded under the

    21   Trade Secrets Act.        That would be limited to the trade

    22   secrets count; wouldn't it?

    23                MR. ELLIS:      Well, I would argue that it would

    24   not, Your Honor.       Because here what were the

    25   allegations were so interwrapped between all of the


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     1   criminal computer statutes that there was no way to

     2   really just defend against --

     3                THE COURT:      They argue you would spend the

     4   same amount of money if that were the only count.

     5                MR. ELLIS:      Quite frankly, they brought a

     6   conspiracy claim that made RE Construction liable

     7   potentially for all of the other claims, including the

     8   Virginia statute and the other computer criminal act.

     9   And there was simply no reason for them to be ever in

    10   this case.      Quite frankly, the response from Athena

    11   virtually admits that.

    12                The only facts in the case as to why they

    13   included them was there was a close familial

    14   relationship.      There was a suggestion of cohabitation,

    15   an in-law relationship, and RE Construction -- someone

    16   at RE Construction had put their records, their medical

    17   records on this hard drive.          That's it.      That's the

    18   allegations that they suggest should have allowed them

    19   to put forward a well-grounded complaint of computer

    20   hacking and trade secret theft against RE Construction.

    21   There's no suggestion -- there's no facts that any of

    22   those actions were actually committed by anyone at RE

    23   Construction.

    24                I will point to the Court's attention on

    25   page 10 of the defendant's response.             Their response,


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     1   the last sentence, is Athena had a good faith basis to

     2   believe that discovery in this action would reveal the

     3   extent of RE Construction's access and use, discovery.

     4                In other words, this has always been a

     5   fishing expedition against RE Construction and that

     6   they were hoping that maybe they would find something

     7   in discovery.      That is not the basis -- that does not

     8   meet the requirements of whether you look at a Rule 11

     9   or through a Virginia court or even the bad faith

    10   statute under the Trade Secrets Act.

    11                They had to have a complaint well-reasoned in

    12   fact against RE Construction, not against Mr. Smith,

    13   against RE Construction.         They had to have it against

    14   both of them.      We're here about RE Construction.

    15                There was nothing in the complaint that

    16   suggests RE Construction had ever misappropriated --

    17   had ever accessed these documents, misappropriated

    18   these documents, or done anything with this hard drive

    19   other than put their own sensitive medical records on

    20   there, apparently by accident, since the hard drive was

    21   then later claimed by Athena.

    22                In that case, it is clear that there was no

    23   basis for it.      So why did they bring the case?            Why did

    24   they bring the case against RE Construction?                They had

    25   already sued Mr. Smith twice in state court.                Well,


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     1   they brought it because of those exact reasons that I

     2   just mentioned.       They knew that RE Construction's owner

     3   was a close familial member.           They thought that there

     4   was a cohabitation there.          They brought it to harass

     5   the relator in the qui tam case, to cause more problems

     6   in his life, to drive up the litigation costs to not

     7   only himself but now to his in-law.

     8                What other facts are there?          Well, we know

     9   that this case was not filed until the relator decided

    10   to proceed after the government declined.               So those are

    11   the facts that I think this Court, looking at this

    12   complaint and the pleadings and the briefings, can draw

    13   an inference that this was not a properly filed

    14   complaint, that this complaint was not brought for

    15   proper purposes, and that this complaint -- the filing

    16   of this complaint should result in the award of costs

    17   and attorney's fees, not only because of what happened

    18   here, but also how the Athena defendants used the

    19   Virginia courts as a tool to attack the relator who had

    20   a case in a D.C. court.

    21                And if defendants, who are the subject of qui

    22   tam cases, can collaterally attack relators in state

    23   court or other federal courts other than where the qui

    24   tam case resides and collaterally attack their familial

    25   members with these kinds of threadbare and baseless


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     1   complaints, then that is exactly what defendants facing

     2   relators are going to do.

     3                They are going to attack those relators'

     4   families and themselves collaterally because it drives

     5   up the cost of the relator.          We had to get local

     6   counsel.     We've had to expend almost 90 hours in this

     7   case even though it's only been in suit for less than

     8   six months.      That is the deterrence mechanism that

     9   Rule 11 exists for.        That is the deterrence mechanism

    10   that the Virginia state court ruled the good faith

    11   Virginia statute exists for, and that is the different

    12   mechanism that the Virginia Trade Secrets Act has to

    13   prevent this from happening.

    14                THE COURT:      I'll ask counsel this, but

    15   perhaps you know as well.          The forensic report that the

    16   plaintiffs produced with respect to the disk, does it

    17   state when the Athena files were actually downloaded

    18   onto that disk?       I know the report says it was sometime

    19   prior to January-February 2016, but can they tell

    20   specifically when those files were originally copied to

    21   that disk?

    22                MR. ELLIS:      Yes, Your Honor.       There is a

    23   specific column, and it's in the footnote of the

    24   report.    There's a specific column in that report that,

    25   if you look at the attachment, you can see that date.


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      1   That's how we knew.       When we looked at it, that's how

      2   we knew that all of these files -- I forget, 15-some

      3   thousand files, all except for the medical records that

      4   belong to RE Construction were downloaded before

      5   Mr. Smith left the employment of Athena, which comports

      6   with his recollection, which was that all of these

      7   files were downloaded as part of a backing up system in

      8   2013 or 2014.

      9               THE COURT:       What's that date range that they

    10    were actually downloaded?         2013 or 2014?

    11                MR. ELLIS:       I don't recall, Your Honor.          It's

    12    in our motion to dismiss.         I believe the latest was,

    13    like, 2014.      That's why, if you actually look at the

    14    documents, even though he was employed until 2016,

    15    there's nothing from 2014 to 2016.

    16                THE COURT:       All right.

    17                MR. ELLIS:       So I mean, that's why none of

    18    this has ever made any sense.           Because if he really

    19    hacked the system like they're suggesting, why would he

    20    stop?   You know, why would he only take his Outlook

    21    files and only up until 2014?

    22                THE COURT:       Right.

    23                MR. ELLIS:       So those are the reasons why

    24    we've asked.      This is the third lawsuit.          We're asking

    25    the Court for this, in part, to end the behavior of


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      1   Athena.

      2               THE COURT:       All right.    Thank you.

      3               MR. ELLIS:       Thank you, Your Honor.

      4               THE COURT:       Counsel.

      5               MR. JOHNS:       Good morning, Your Honor.

      6               THE COURT:       Good morning.

      7               MR. JOHNS:       With your permission, I'm going

      8   to lower my mask.

      9               THE COURT:       Yes.

    10                MR. JOHNS:       It'll be a little bit easier

    11    to --

    12                THE COURT:       Could you address my question.

    13    Do you agree with counsel that the report shows the

    14    actual downloading of Athena files sometime prior to

    15    2016?

    16                MR. JOHNS:       Well, Your Honor, I think the

    17    report shows that there is activity before and after

    18    determination.

    19                THE COURT:       I understand that.       My question

    20    is does it reflect when the Athena files were first

    21    downloaded to the disk?         Counsel says that there's a

    22    footnote that says it was sometime in 2013, '14, '15.

    23                MR. JOHNS:       I'm looking at the report.

    24                THE COURT:       I have the report.       I, frankly,

    25    didn't find the attachment.


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      1               MR. JOHNS:       Your Honor, we -- our reading of

      2   the report is that the files were -- that that hard

      3   drive was attached to a computer January 25, 2016.

      4               THE COURT:       I understand that you've alleged

      5   that the Athena files were, in fact, downloaded on

      6   January 25, 2016.       My question is really, is that

      7   supported by the report?         I know what the narrative of

      8   the report is.      I'm interested in whether you agree

      9   with counsel that the footnote indicates dates of

    10    actual downloading that preceded 2016.

    11                MR. JOHNS:       Your Honor, I'm looking at -- I'm

    12    looking at the Exhibit B.         I don't see a date in a

    13    footnote in that exhibit.

    14                THE COURT:       All right.    Well, let me ask you

    15    this:   Other than the disk itself and the forensic

    16    report and the fact that the defendant went to work for

    17    RE Construction, what other basis or evidence was there

    18    to support the complaint?

    19                MR. JOHNS:       Well, we think the forensic

    20    analysis is really the central part of it.                The

    21    relationship -- we have alleged communications between

    22    Smith and --

    23                THE COURT:       What was the basis for that

    24    allegation?      What was the evidence you had that there

    25    were discussions pertaining to the conspiracy that you


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      1   mentioned?      Because you allege in the complaint that

      2   Smith committed the violations before becoming an

      3   employee or, if he was an employee, he was acting

      4   outside the scope of his employment at RE Construction.

      5   So that would essentially eliminate any agency theory

      6   of liability.

      7                MR. JOHNS:      Well --

      8                THE COURT:      So what evidence did you have

      9   that there were conspiratorial communications?

    10                 MR. JOHNS:      So the communications, Your

    11    Honor, go to what we found on the hard drive, which is

    12    not evidence --

    13                 THE COURT:      Which was what?       There was just

    14    simply the Athena files?

    15                 MR. JOHNS:      There were Athena files.

    16                 THE COURT:      Right, and the date of those

    17    would obviously be important.           Then there were

    18    documents, RE Construction documents.

    19                 MR. JOHNS:      RE Construction documents.

    20                 THE COURT:      Right.    So how --

    21                 MR. JOHNS:      There were QuickBook files that

    22    had actually been deleted from --

    23                 THE COURT:      I'm sorry?

    24                 MR. JOHNS:      There were QuickBook files that

    25    had actually been deleted.


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      1               THE COURT:       QuickBook files of who?

      2               MR. JOHNS:       RE Construction.

      3               THE COURT:       Right.    So why would any of that

      4   support conspiracy claims?

      5               MR. JOHNS:       Because there is no other way for

      6   them to get onto the hard drive without cooperation

      7   between Smith and RE Construction.

      8               THE COURT:       Smith's access to RE

      9   Construction's computer, why would that support your

    10    conspiracy claims based on the Athena files?

    11                MR. JOHNS:       Well, the conspiracy theory is,

    12    Your Honor, that RE Construction provides this disk,

    13    this hard drive to Smith.           Smith accesses the Athena

    14    files either himself or through --

    15                May I have a small drink of water, Your

    16    Honor?

    17                THE COURT:       Yes.

    18                MR. JOHNS:       Thank you, Your Honor.

    19                THE COURT:       Does the report through the

    20    metadata reflect when the Athena files -- not only get

    21    downloaded but were actually accessed as opposed to the

    22    disk itself in some fashion being accessed?

    23                MR. JOHNS:       It does show that, when the files

    24    were accessed.      The file list is hundreds of pages.

    25                Frankly, Your Honor, this was -- you know, on


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      1   a 12(b)(6) motion, we have consideration of evidence.

      2   We don't have Mr. Lyle on the stand to explain the

      3   findings.

      4                THE COURT:       I understand, but we're beyond

      5   that.     We're beyond the allegations.          The question is

      6   whether you had a good faith basis for bringing the

      7   allegations.       It depends on what evidence you had,

      8   whether it's reflected in the complaint or not, what

      9   evidence you had to in good faith believe you had these

    10    claims.     I'm trying to understand what evidence you had

    11    beyond the disk itself and the report.

    12                 MR. JOHNS:       So it was the -- so the disk, the

    13    report, the findings in the -- that were downloaded and

    14    then, again, the existence of this hard drive, which

    15    was originally alleged to have come from Athena

    16    Construction by Mr. Smith.          The forensic analysis

    17    showed it did not come from Athena Construction.                I

    18    think --

    19                 THE COURT:       Well, the disk was something that

    20    was supposedly not an Athena disk.            I'm not sure how

    21    you determined that, but let's assume that's true.                   I'm

    22    not sure what it means when it says the disk didn't

    23    come from Athena Construction.

    24                 MR. ELLIS:       Well, it wasn't --

    25                 THE COURT:       Isn't a disk fairly genetic?


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      1                MR. JOHNS:       The theory is it was not his

      2   property when he was an employee with Athena; it's

      3   someone else's property.

      4                THE COURT:       Right.

      5                MR. JOHNS:       And what we found, again, from

      6   the report looking at those thousands of files, when

      7   they were accessed after the time that Smith has left

      8   the employ of Athena, the presence of the RE

      9   Construction files on the disk, the living

    10    relationships, the employment relationships, all of

    11    those, we believe, created a reasonable inference that

    12    we can rely on as part of our complaint.

    13                 I think that the standard says that you --

    14    that the reasonable inference that can be made is what

    15    could be -- it could be found in discovery, and it's

    16    not, well, we're going to go into discovery and find

    17    our evidence.       It's are the inferences supported or is

    18    the good faith basis established by what we have at the

    19    time and what we believe we can find in discovery.                   And

    20    so I think those are all of the good faith bases.

    21                 You know, if I can just add a couple of

    22    things.     I think there are significant procedural

    23    hurdles on this motion because there was no 21-day --

    24                 THE COURT:       I understand that, but let me ask

    25    you this:        There's an allegation that the company was


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      1   damaged in the amount of $2 million, which increased

      2   from $60,000 or $70,000 in the original complaint.

      3   What evidence did you have that any of the information

      4   on the disk had been or was about to be utilized that

      5   was reflected in anything that you knew about?

      6                MR. JOHNS:      The allegations were that at the

      7   time that the download was made, that RE Construction

      8   was in the midst of litigation with Athena.

      9                THE COURT:      Right, as a subcontractor.         Was

    10    there anything in that litigation that would suggest

    11    that RE Construction was utilizing in any way any of

    12    the information on the disk?

    13                 MR. JOHNS:      It's -- it would be difficult to

    14    say what they were using and what they weren't using at

    15    that time.

    16                 THE COURT:      Well, there was an allegation

    17    that this information was, in fact, being used as part

    18    of your trade secrets claim, that it was being

    19    misappropriated and used.         What evidence did you have

    20    of that?

    21                 MR. JOHNS:      So, again, the evidence is that

    22    it's on a hard drive that is also with RE Construction,

    23    QuickBook files, financial files --

    24                 THE COURT:      Right.

    25                 MR. JOHNS:      -- and the other documents.          And


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      1   I believe that for 12(b)(6) purposes and for purposes

      2   of filing the complaint, it creates a reasonable

      3   inference that can be followed up.            Again, the 12(b)(6)

      4   analysis was done with -- considering evidence.

      5   Normally, we wouldn't put evidence on.

      6               THE COURT:       Right.   I'm trying to find out

      7   what the evidence was even though it's not reflected in

      8   the complaint.

      9               MR. JOHNS:       Right.   I think a good faith

    10    basis does not require having all of the evidence that

    11    will ever support the complaint.

    12                THE COURT:       No, just some evidence.

    13                MR. JOHNS:       And I think that there is

    14    significant evidence that circumstantially ties these

    15    two parties together.

    16                THE COURT:       Let me just ask this:        Did you

    17    have any evidence at the time that the two companies

    18    were in competition for the same clients or that there

    19    was a loss of business or that a client that had

    20    previously worked with Athena was now working with RE

    21    Construction or that any of the information was used in

    22    bids or pricing or anything like that?

    23                MR. JOHNS:       So RE Construction was a

    24    subcontractor.

    25                THE COURT:       Right.


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      1                MR. JOHNS:        And so the -- so with the trade

      2   secret claim, under the Virginia Uniform Trade Secrets

      3   Act, you can state a claim by possession as well.                 So

      4   our reading of the VUTSA is that use is not a mandatory

      5   condition for finding a violation.            Obviously, we --

      6                THE COURT:        That's what you allege.      You say

      7   that the defendants intentionally, willfully, and

      8   maliciously required, disclosed, and used Athena's

      9   trade secrets.

    10                 MR. JOHNS:        Well, Your Honor, again, that is

    11    our inferential belief based on the facts and

    12    circumstances and everything that was presented, again,

    13    along with the significant presence of the Athena files

    14    acquired after the employment of Smith had ended.

    15                 THE COURT:        Again, just so I'm clear,

    16    Counts 2, 3, and 4 all relate to computer fraud,

    17    computer invasion.        You lump Smith and RE Construction

    18    together.        You didn't have any evidence that the

    19    construction company was invading your computers in any

    20    fashion?

    21                 MR. JOHNS:        We had a reasonable --

    22                 THE COURT:        The only actor here was Smith, is

    23    that right, that you allege?

    24                 MR. JOHNS:        Well, we know it has to have been

    25    at least Smith because he's the one who produced the


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      1   hard drive.

      2               THE COURT:       Right.

      3               MR. JOHNS:       Again, the reasonable

      4   inference -- given all the things that are in the

      5   complaint, the reasonable inference is that this was

      6   some concerted effort, after he's left Athena, to

      7   retrieve and to recover those files, financial files

      8   and invoices and contracts and so forth.              So I think

      9   all of those create reasonable inferences that create

    10    the good faith basis to put forward the complaint.

    11                THE COURT:       All right.

    12                MR. JOHNS:       Then, Your Honor, Mr. Ellis

    13    didn't speak about Rule 11 in his presentation.                It's

    14    briefed.    I think three issues related to that.              We've

    15    spoken a lot about the substantive part.              There was no

    16    21-day service, which is required by the rule.                And it

    17    was filed after the close of the case, and the Fourth

    18    Circuit says that in both of those instances, you don't

    19    have access to Rule 11.

    20                And then, also, there's been no presentation

    21    of what the attorney fees are or what they amounted to.

    22    And so even if the Court was inclined to award those

    23    fees, they would still have to be reasonable.               We would

    24    have to have an opportunity to --

    25                THE COURT:       I understand.


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      1               MR. JOHNS:       -- examine them.

      2               So I believe, Your Honor, that there was a

      3   good faith basis based on those reasonable inferences,

      4   based on the fact that we had this forensic analysis.

      5   We know the relationship to the parties.              We know the

      6   post employment, the subsequent employment.               I think

      7   all of those allow us to make that reasonable

      8   inference, and I don't think a plaintiff is required to

      9   have every fact in hand, simply that a reasonable

    10    investigation and reasonable inferences were made.

    11    That would be our opposition.

    12                THE COURT:       All right.    Thank you.

    13                Mr. Ellis, I'll give you the last word on

    14    this.

    15                MR. ELLIS:       Yes, Your Honor.      Your Honor

    16    asked counsel several times of what is the evidence.

    17    What is the evidence that these documents were used in

    18    the -- we call it a litigation.           It's called a

    19    litigation, but it was actually an arbitration because

    20    it was a subcontractor.         They were arguing about how

    21    much they should be paid.         Well, the arbitration, there

    22    was an exchange of discovery.           Documents were exchanged

    23    by the parties.      None of those documents came from the

    24    drive, from the disk.         None of those documents were

    25    used.   There is no evidence that it was used in that


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      1   litigation.

      2               RE Construction is a subcontractor that was

      3   fed work by Athena.       There's no evidence that they used

      4   these documents to become a prime government contractor

      5   or to steal or poach a client or a contract.               There's

      6   nothing to suggest that even though they've made --

      7   there's nothing to suggest it.           There's nothing there

      8   at all even though they've made the allegation of

      9   misappropriation.

    10                There is simply an allegation or suggestion

    11    that this disk existed within the arm's reach of the

    12    employees of RE Construction.           That is not enough.

    13    There is no fact supporting that RE Construction

    14    accessed the Athena documents.           Yes, they accessed the

    15    disk, but the report doesn't show that the Athena

    16    documents were accessed by RE Construction.               The report

    17    doesn't show that the Athena documents were printed or

    18    downloaded.      The report -- the forensic report doesn't

    19    suggest anything in terms of use or misappropriation.

    20                The report in the footnote that I was

    21    referring to is -- there's a footnote where it explains

    22    what the headers are on the spreadsheet, and there was

    23    a spreadsheet attached to the back of the report.                 One

    24    of those headers relates to the date that the documents

    25    were downloaded.       So if you go to the spreadsheet under


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      1   that header, you can actually look to see when those

      2   documents were downloaded onto the disk.              And if you

      3   look and see, I think we state only 24 out of the 14

      4   were downloaded onto the disk after Mr. Smith was

      5   terminated.      So that's the reference to the footnote.

      6               THE COURT:       Those 24 relate to --

      7               MR. ELLIS:       They relate to RE Construction

      8   stuff --

      9               THE COURT:       -- RE Construction documents.

    10                MR. ELLIS:       -- not to Athena stuff.        And they

    11    don't show anything in terms of anyone doing anything

    12    with this disk.      We don't dispute that --

    13                THE COURT:       There's no evidence on that

    14    report concerning when other than when the Athena

    15    documents were accessed after being downloaded?

    16                MR. ELLIS:       There is a summary statement in

    17    the report that they were accessed somewhere between

    18    January 25, 2016, and April 2, 2018.             But if you look

    19    at it, the stuff that comes before the qui tam

    20    litigation was just accessing the disk, not -- there's

    21    nothing that showed --

    22                THE COURT:       Well, that's what I'm after.            Not

    23    just accessing the disk, but accessing the Athena

    24    documents themselves.         Is there anything in the report

    25    that indicates dates of access as to the Athena


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      1   documents themselves?

      2                MR. ELLIS:      I don't believe so, Your Honor.

      3   Because if you had that, then you could actually, you

      4   know, relate it to -- well, here's RE Construction

      5   attending a bidding conference, and they've downloaded

      6   all of these financials for Athena.            You could actually

      7   show what defendants are alleging.            None of that

      8   information is in there.         There's no information as to

      9   when documents were downloaded or by who other than to

    10    say that the disk was accessed.

    11                 THE COURT:      All right.

    12                 MR. ELLIS:      That work could have been done

    13    and at least it should have been done before these

    14    lawsuits were brought, or they should have just brought

    15    it against Smith.       If they got into discovery,

    16    according to their theory of the statute of

    17    limitations, they could've always come back to the

    18    Court and added a newly discovered party.

    19                 They didn't do that because the same reason

    20    they didn't file this as a cross-motion before Judge

    21    Mehta.     They didn't do it because they wanted the

    22    duplicative process.         They wanted the burden.        They

    23    wanted to serve him at his home with his in-laws.                  They

    24    wanted all of this.       They didn't care about the facts.

    25    They wanted this process, and they wanted the two


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      1   defendants to face bills in the tens of thousands of

      2   dollars for this defense.          That's what they wanted, and

      3   that's what they got.

      4                The Court shouldn't allow them to get away

      5   with it.     That's why we filed the motion.

      6                Thank you, Your Honor.

      7                THE COURT:       All right.   I'm going to take it

      8   under advisement.        Let me just state a couple of

      9   things.     I think Rule 11 quite clearly requires service

    10    of the actual motion, and that wasn't done in this

    11    case.     So to the extent there's going to be an award of

    12    attorney's fees, if the Court makes that decision, it

    13    would have to be under the Virginia Trade Secrets Act

    14    or the Virginia equivalent of Rule 11.             The Court will

    15    consider that.

    16                 I would like counsel to file very short --

    17    I'm talking about one page or two pages of just

    18    confirming their view specifically of whether the

    19    forensic report identifies the dates on which the

    20    Athena files were downloaded and any dates on which the

    21    Athena files, as opposed to the disk itself, were

    22    accessed.        If you could, do that within the next, say,

    23    seven days.

    24                 MR. JOHNS:       Yes, Your Honor.

    25                 MR. ELLIS:       Yes, Your Honor.


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      1               THE COURT:       All right.    The Court will take

      2   it under advisement.

      3               All right.       Anything further?

      4               MR. JOHNS:       I was just looking for my mask.

      5               THE COURT:       All right.

      6               MR. ELLIS:       Nothing, Your Honor.

      7               THE COURT:       All right.    Thank you.

      8               Counsel is excused.

      9               The Court will stand in recess.

    10                 ----------------------------------
                                Time: 11:48 a.m.
    11

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    21          I certify that the foregoing is a true and

    22
           accurate transcription of my stenographic notes.
    23

    24
                                                       /s/
    25                                    Rhonda F. Montgomery, CCR, RPR


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